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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

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9    LUCIO BETANCOURT,                )        No. CV-F-06-026 REC
                                      )        (No. CR-F-93-5046 MDC)
10                                    )
                                      )        ORDER DENYING FIFTH MOTION
11                    Petitioner,     )        TO VACATE, SET ASIDE OR
                                      )        CORRECT SENTENCE PURSUANT TO
12             vs.                    )        28 U.S.C. § 2255 AND
                                      )        DIRECTING ENTRY OF JUDGMENT
13                                    )        FOR RESPONDENT
     UNITED STATES OF AMERICA,        )
14                                    )
                                      )
15                    Respondent.     )
                                      )
16                                    )

17        On January 9, 2006, petitioner Lucio Betancourt filed a

18   motion to vacate, set aside or correct sentence pursuant to 28

19   U.S.C. § 2255.

20        Petitioner was convicted by jury trial on October 7, 1993

21   of conspiracy to manufacture a controlled substance,

22   manufacturing a controlled substance and possession of a

23   controlled substance with intent to distribute.         Petitioner was

24   sentenced on February 28, 1994 to 292 months imprisonment.

25   Petitioner’s conviction and sentence were affirmed on appeal by

26   the Ninth Circuit on April 13, 1995.       On April 13, 1997,

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1    petitioner filed a motion to vacate, correct or set aside

2    sentence pursuant to Section 2255 (CV-F-97-5299 MDC).          This

3    Section 2255 motion was denied by Order filed on October 6, 1997.

4    No appeal was taken by petitioner.       On July 23, 1998, petitioner

5    filed a Section 2255 motion (CV-F-98-5833 MDC).         This motion was

6    dismissed by Order filed on August 18, 1998.        On September 21,

7    1998, petitioner filed a motion for reconsideration, which was

8    denied by Order filed on September 23, 1998.        On July 5, 2001,

9    petitioner filed another motion for relief under Section 2255

10   based on the Supreme Court’s decision in Apprendi v. New Jersey

11   (No. CV-F-01-5865 MDC).     This motion was denied by Order filed on

12   October 1, 2001.   Petitioner filed a notice of appeal.

13   Petitioner’s request for a certificate of appealability was

14   denied by Order filed on November 26, 2001.        On August 2, 2002,

15   the Ninth Circuit denied the request for certificate of

16   appealability.   On December 2, 2004, petitioner filed another

17   Section 2255 motion based on Blakely v. Washington and United

18   States v. Ameline (No. CV-F-04-6635 REC).        This motion was denied

19   by Order filed on February 4, 2005.       Petitioner filed a notice of

20   appeal.   Petitioner’s request for a certificate of appealability

21   was denied by Order filed on April 18, 2005.        On June 7, 2005,

22   the Ninth Circuit denied the request for certificate of

23   appealability, noting that petitioner must apply to the Ninth

24   Circuit for authorization to file a second or successive Section

25   2255 motion.

26        In petitioner’s fifth motion for relief under Section 2255,

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1    petitioner asserts that he is entitled to relief because of the

2    Supreme Court’s decision in United States v. Booker, 543 U.S. 220

3    (2005).

4         Petitioner, citing McClesky v. Zant, 499 U.S. 467 (1991),

5    argues that the instant motion should not be construed by this

6    court as a “second or successive” motion because his challenge to

7    his sentence under Booker is a new issue that did not exist and

8    could not have been raised at the time he filed his initial

9    Section 2255 motion.

10        It is not necessary for the court to resolve this issue.

11   Even assuming that petitioner’s position is correct, petitioner

12   would not be entitled to relief.        Booker is not retroactive to

13   cases on collateral review.     United States v. Cruz, 423 F.3d 1119

14   (9th Cir. 2005).1

15        ACCORDINGLY:

16        1.   Petitioner Lucio Betancourt’s motion to vacate, set

17   aside or correct sentence pursuant to 28 U.S.C. § 2255 is denied.

18        2.   The Clerk of the Court is directed to enter judgment for

19   respondent.

20        IT IS SO ORDERED.

21   Dated:    January 11, 2006                     /s/ Robert E. Coyle
     668554                                     UNITED STATES DISTRICT JUDGE
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           Petitioner argues that the court should hold the instant
     motion in abeyance pending resolution by the Supreme Court of
25   Washington v. Recuenco, No. 05-83. The court denies this request.
     The issue before the Supreme Court in Recuenco does not address the
26   applicability of Booker to cases on collateral review.

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